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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                                   )         CASE NOS. 1:11CV728; 1:09CR363
VINCENTE BENITEZ ,                                 )
                                                   )
                          PETITIONER,              )         JUDGE SARA LIOI
                                                   )
vs.                                                )
                                                   )         OPINION AND ORDER
                                                   )
                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
                          RESPONDENT.              )

                 Before the Court is a motion by Petitioner Vincente Benitez (Petitioner) to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. (Case. No.

1:11CV728, Doc. No. 1; Case No. 1:09CR363, Doc. No. 568.)1 The government has filed

a brief in opposition to Petitioner‘s motion. (Doc. No. 570.)

                 Petitioner was indicted August 12, 2009, on one count of conspiracy to

possess with intent to distribute heroin, cocaine, and cocaine base; one count of

possession with the intent to distribute cocaine; seventeen counts of use of a telephone to

facilitate drug trafficking; and one count of travel in interstate commerce to promote drug

trafficking. (Doc. No. 1.) On November 13, 2009, pursuant to a plea agreement,

Petitioner pleaded guilty to only one count—conspiracy to possess with intent to

distribute heroin, cocaine, and cocaine base. (Doc. No. 398.) All other counts of the

indictment were ultimately dismissed, and Petitioner was sentenced to 108 months‘


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  ―Doc. No.‖ references throughout the remainder of this opinion refer exclusively to the numbers assigned
in Case No. 1:09CR363.
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imprisonment, five years‘ supervised release, and a $100 special assessment. (Doc. No.

514.)

               Petitioner now challenges his sentence under 28 U.S.C. § 2255, asserting

four grounds for relief. First, Petitioner contends that he was denied effective assistance

of counsel when his counsel allegedly failed to negotiate a favorable plea agreement and

did not adequately explain the nature and consequences of the plea agreement to

Petitioner. Second, Petitioner asserts that his counsel was ineffective in not seeking—and

the Court in error in not granting—a three-level Sentencing Guidelines reduction for

acceptance of responsibility. Third, Petitioner asserts that the determination as to the

quantity of drugs involved in his offense was improperly made and that his counsel was

ineffective in failing to challenge this error. Last, Petitioner claims he was entitled to a

downward departure in the application of the Sentencing Guidelines because of his status

as an ―illegal alien.‖ (Doc. No. 568, p. 15.)

               When a petitioner files a § 2255 motion, the sentencing court should hold

an evidentiary hearing ―[u]nless the motion and the files and records of the case

conclusively show that the prisoner is entitled to no relief . . . .‖ 28 U.S.C. § 2255(b).

―[N]o hearing is required if the petitioner‘s allegations ‗cannot be accepted as true

because they are contradicted by the record, inherently incredible, or conclusions rather

than statements of fact.‘‖ Arredondo v. United States, 178 F.3d 778, 782 (6th Cir. 1999)

(quoting Engelen v. United States, 68 F.3d 238, 240 (8th Cir. 1995)).

               The Court finds that a hearing is not warranted in the present case. As the

analysis below demonstrates, many of the claims made in Petitioner‘s motion are barred


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by the terms of his plea agreement. Those claims that are not barred by that agreement

are conclusively refuted by the robust record in this case.



I. Preclusive Effect of Waiver of Right to Appeal

               As part of his plea agreement, Petitioner expressly waived his right to

appeal, including his right to ―a proceeding under 28 U.S.C. § 2255.‖ (Doc. No. 398, p.

8.) The expansive waiver agreed to by Petitioner included only four exceptions. Petitioner

reserved his right to pursue appeals only in regard to (1) ―any punishment in excess of the

statutory maximum,‖ (2) ―any sentence to the extent it exceeds the greater of any

statutory mandatory minimum sentence or the maximum of the guideline range

determined under the advisory Sentencing Guidelines in accordance with the sentencing

stipulations and computations‖ found in the plea agreement, (3) claims of ineffective

assistance of counsel, and (4) claims of prosecutorial misconduct. (Doc. No. 398, pp. 8–

9.)

               ―A defendant in a criminal case may waive any right, even a constitutional

right, by means of a plea agreement.‖ United States v. Sharp, 442 F.3d 946, 949 (6th Cir.

2006) (quoting United States v. McGilvery, 403 F.3d 361, 362 (6th Cir. 2005)). This

includes waiver of the right to appeal, ―so long as the waiver is made knowingly and

voluntarily.‖ United States v. Walls, 390 F. App‘x 545, 548 (6th Cir. 2010) (citing United

States v. Fleming, 239 F.3d 761, 763–64 (6th Cir. 2007)). The Sixth Circuit Court of

Appeals looks to both the plea agreement and the plea colloquy to determine the validity

of such a waiver. Walls, 390 F. App‘x at 548 (citing United States v. Swanberg, 370 F.3d

622, 626 (6th Cir. 2004)).
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                 The terms of the plea agreement here are unequivocal. Petitioner waived

all appellate rights save the four exceptions enumerated above. The transcript of the plea

colloquy also reflects that Petitioner entered into the plea agreement knowingly and

voluntarily. The Court repeatedly verified with Petitioner that Petitioner—a Spanish

speaker who was provided a certified court interpreter—did indeed understand the details

of the proceedings and the plea agreement. (Doc. No. 563, pp. 10, 11, 14.) The Court

reviewed the terms of the plea agreement with Petitioner section-by-section. Petitioner

indicated he understood that, with the exception of the four enumerated reservations, he

was ―giving up all other rights to appeal or collaterally attack through this or in any other

proceeding [his] sentence and conviction in this case.‖ (Id., p. 33.) Petitioner also

acknowledged that he had thoroughly discussed the plea agreement with his counsel (Id.,

p. 39), that no one had in any way coerced him to enter his plea (Id., p. 40), and that he

fully understood the terms of the plea agreement (Id.). Petitioner‘s waiver of his appellate

rights was thus knowing and voluntary and, as such, precludes him from raising, under

the guise of a § 2255 claim, any issues that fall outside of the four exceptions enumerated

in the plea agreement.

                 Petitioner makes a variety of factual and legal claims in the Memorandum

in Support of his § 2255 motion. None of these claims, however, fall within the statutory

maximum; statutory mandatory minimum or Guidelines maximum; or prosecutorial

misconduct exceptions to the appeals waiver found in the plea agreement.2 Only the


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 Petitioner does allege, almost in passing, ―outrageous . . . Government conduct‖ that included ―misleading
by the prosecution‖ and ―malicious prosecution.‖ (Doc. No. 568, pp. 5–6.) But Petitioner fails to elaborate
on these allegations at all, let alone provide specific facts to support the allegations.


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ineffective assistance exception overlaps with any of Petitioner‘s claims. As such,

Petitioner‘s claims for § 2255 relief will be considered only to the extent that they

implicate his right to effective assistance of counsel.



II. Ineffective Assistance of Counsel

               Claims of ineffective assistance of counsel are analyzed under the familiar

Strickland standard. Under Strickland, in order to succeed on such a claim, a defendant

must make two showings. First, he ―must show that his counsel‘s performance was

deficient.‖ Strickland v. Washington, 466 U.S. 668, 687 (1984). Deficient performance

means that counsel made errors ―so serious that counsel was not functioning as the

‗counsel‘ guaranteed the defendant by the Sixth Amendment.‖ Id. Second, the defendant

must also show that ―the deficient performance prejudiced the defense.‖ Id. The errors

must have been ―so serious as to deprive the defendant of a fair trial, a trial whose result

is reliable.‖ Id. In the context of a guilty plea, the second showing is altered slightly, as

defendant must show a ―reasonable probability that, but for counsel‘s errors, he would

not have pleaded guilty and would have insisted on going to trial.‖ Hill v. Lockhart, 474

U.S. 52, 59 (1985).

               When a defendant challenges the validity of a guilty plea, representations

of the defendant, his lawyer, and the prosecutor at the plea hearing and the findings made

by the judge at such a hearing ―constitute a formidable barrier in any subsequent

collateral proceedings.‖ Blackledge v. Allison, 431 U.S. 63, 73–74 (1977). Such

―[s]olemn declarations in open court carry a strong presumption of verity.‖ Id. at 74.


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―[C]onclusory allegations unsupported by specifics‖ and ―contentions that in the face of

the record are wholly incredible‖ are subject to summary dismissal. Id.



               A. Failure to Negotiate a Favorable Plea Agreement and Failure to
               Adequately Explain the Plea Agreement

               Petitioner contends that his counsel failed to negotiate a favorable plea

agreement and failed to adequately explain to Petitioner the nature and consequences of

the plea agreement. As to the first point, the thrust of Petitioner‘s argument appears to be

that, when it came to the plea agreement, Petitioner, through his counsel, gave up too

much for too little in return. Petitioner points to his waiver of appellate rights and his

cooperation with the government and asserts that, had counsel been competent, Petitioner

would have obtained a more favorable plea agreement. (Doc. No. 568, pp. 7–8.)

               In fact, the plea agreement contained multiple provisions favorable to

Petitioner. Foremost among these was the government‘s agreement to seek dismissal of

one count of possession with the intent to distribute cocaine; seventeen counts of use of a

telephone to facilitate drug trafficking; and one count of travel in interstate commerce to

promote drug trafficking. These charges were ultimately dismissed by the Court. (Doc.

No. 547, p. 49.) The agreement further provided that the government would move the

Court for a six-level reduction in Petitioner‘s base offense level if Petitioner fully

cooperated with the government. The government followed through on this commitment,

and the Court granted a six-level reduction based on Petitioner‘s assistance to law

enforcement. (Id., p. 32.)    This resulted in a substantial reduction in the advisory

sentencing range—from 168–210 months (Criminal History Category I and Offense

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Level 35) to 87–108 months (Criminal History Category I and Offense Level 29). The

agreement also provided that, if Petitioner‘s conduct ―continue[d] to reflect his

acceptance of responsibility,‖ the government would notify the Court of Petitioner‘s

timely indication of his intent to plead guilty and would recommend a corresponding

three-level reduction. (Doc. No. 398, p. 5.) This reduction ultimately was not applied, a

fact addressed in more detail below.

               Petitioner‘s further contention that defense counsel failed to adequately

explain the plea agreement flies in the face of the record. At the change of plea hearing,

Petitioner affirmed that he had discussed the plea agreement thoroughly with his counsel

and that he was fully satisfied with his counsel‘s services and advice. (Doc. No. 563, pp.

39–40.) Likewise, counsel confirmed that, though it was a ―painful, slow process,‖ he did

in fact go over ―every word‖ of the plea agreement with Petitioner. (Id., p. 8.) When

asked by the Court if he felt ―comfortable in saying that [his] client ha[d] a clear

understanding of . . . the information that is contained in the plea agreement,‖ Petitioner‘s

counsel replied, ―Very comfortable.‖ (Id., p. 8–9.) And when the Court went through the

agreement section-by-section, Petitioner affirmed that he understood each section, thus

indicating that his counsel had carefully explained the plea agreement to him.




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                  B. Failure to Seek an Acceptance-of-Responsibility Reduction

                  Petitioner also contends that his counsel failed to properly seek a three-

level reduction for acceptance of responsibility.3 The record belies this assertion. In fact,

Petitioner‘s counsel was adamant in pressing the Court for an acceptance-of-

responsibility reduction. Counsel sought such a reduction in Petitioner‘s sentencing

memorandum as well as at the sentencing hearing. Counsel also went to substantial

lengths during that hearing to convince the Court that, notwithstanding Petitioner‘s

statements regarding being cajoled into the drug trade by law enforcement, Petitioner had

indeed accepted full responsibility for his conduct. (Doc. No. 547, pp. 8–12.)

                  At the sentencing hearing, the Court inquired of Petitioner directly to

determine whether Petitioner had in fact accepted responsibility. (Id., p. 12–14.) The

Court then heard extensive testimony from two law enforcement officers involved in the

case in an effort to better assess the veracity of Petitioner‘s assertions of law enforcement

coercion. (Id., pp. 16–28.) Only after giving Petitioner a second opportunity to explain his

position did the Court ultimately determine that Petitioner had not accepted

responsibility. (Id., p. 29.) Even after all this, Petitioner‘s counsel continued to maintain

his objection to the Court‘s determination that Petitioner had not accepted responsibility

and was thus not entitled to a corresponding three-level reduction. (Id., p. 34.)


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   As Petitioner notes, pursuant to § 3E1.1 of the Sentencing Guidelines, the three-level acceptance-of-
responsibility reduction would actually be a two-level reduction for acceptance of responsibility coupled
with a one-level reduction for timely notice to the government of Petitioner‘s intent to plead guilty.
          In addition to his ineffective assistance argument, Petitioner also contends that the Court itself
erred in refusing to grant the acceptance-of-responsibility reduction. But as already discussed, Petitioner
has waived any rights he may have had to address this issue. Regardless, ―a district court‘s findings‖ as to
whether a defendant is entitled to a reduction for acceptance of responsibility ―will be given great deference
. . . and a challenge will be successful only in extraordinary circumstances.‖ United States v. Downs, 955
F.2d 397, 400 (6th Cir. 1992).
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               C. Failure to Challenge the Method by Which the Quantity of Drugs
               Attributed to Defendant was Determined

               Petitioner asserts that, under Apprendi v. New Jersey, 530 U.S. 466

(2000), and subsequent case law, he was entitled to a jury determination as to the quantity

of drugs attributed to him. Alternatively, Petitioner contends that the Court violated the

rule applied in United States v. Colon-Solis, 354 F.3d 101 (1st Cir. 2004), requiring that,

in situations where a conspiracy participant has entered a guilty plea, the court must make

a finding as to the quantity of drugs attributable to the particular defendant.

               Petitioner has, by virtue of the terms of his plea agreement, waived his

right to raise such claims now. But Petitioner also contends that his counsel was

ineffective in failing to previously assert these rights on Petitioner‘s behalf. Because the

merits of Petitioner‘s ineffective assistance claims depend in part on the validity of his

drug quantity determination claims, the latter must be addressed despite petitioner‘s

waiver.

               In his plea agreement, petitioner explicitly waived his right to jury trial

and expressly agreed that, had the case proceeded to trial, the government could have

proved beyond a reasonable doubt that Petitioner himself had possessed and distributed

the quantity of drugs specified in the plea agreement. (Doc. No. 398, p. 11–12.)

Defendant thus waived his right to a jury determination of the quantity of drugs involved

in his offense, and Apprendi therefore was not implicated. United States v. Leachman,

309 F.3d 377, 378 (6th Cir. 2002) (Apprendi not implicated where defendant had

―knowingly and voluntarily waived his rights to a jury and to proof beyond a reasonable

doubt[] in regard to the amount of drugs‖ involved in his manufacturing of marijuana

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charge); see also Blakely v. Washington, 542 U.S. 296, 310 (2004) (citations omitted)

(―When a defendant pleads guilty, the State is free to seek judicial sentence enhance-

ments so long as the defendant either stipulates to the relevant facts or consents to

judicial factfinding.‖). Further, the Court confirmed the quantity of drugs involved with

Petitioner during his change of plea hearing. (Doc. No. 563, p. 20.)

               Colon-Solis is also no help to Petitioner. The Sixth Circuit has held, in a

case where a defendant pleaded guilty to involvement in a drug conspiracy and admitted

the amount of drugs involved, that such ―admission obviates the need for the ‗further

fact-finding‘ required by Colon-Solis.‖ United States v. Anderson, 333 F. App‘x 17, 27

(6th Cir. 2009).

               Petitioner‘s claims that the Court committed error in determining the

quantity of drugs attributable to him are without merit, and Petitioner‘s counsel,

therefore, was not ineffective in failing to raise such arguments. See Krist v. Foltz, 804

F.2d 944, 945–46 (6th Cir. 1986) (Counsel has no duty to present a baseless claim.).



               D. Downward Sentencing Guidelines Departure Due to Petitioner’s
               Illegal Alien Status

               Petitioner finally claims that he should have received a downward

departure in his Sentencing Guidelines offense level because of his status as an ―illegal

alien.‖ (Doc. No. 568, p. 15.) Unlike the other claims made in his § 2255 petition,

however, Petitioner does not attribute his failure to receive such a departure to the

ineffective assistance of counsel. Nor does the Court see how such ―omissions‖ by

counsel could constitute ineffective assistance. See Garcia v. United States, No. 99-1134,

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2000 WL 145358, at *1 (6th Cir. Feb 2, 2000) (rejecting claim of ineffective assistance of

counsel where counsel failed to move for downward departure due to illegal alien status).

In fact, the Sixth Circuit has expressly declined to decide whether deportable alien status

can even be the basis for a downward departure in a crime not itself dependent on alien

status. United States v. Mendez, 362 F. App‘x 484, 488 n.4 (6th Cir. 2010). As

Petitioner‘s claim thus does not involve an exception to his waiver of appellate rights, it

may not be entertained. See U.S. v. Silva-Rodriguez, 29 F. App‘x 348, 349 (6th Cir. 2002)

(refusing to entertain defendant‘s claim of abuse of discretion in denial of illegal alien

status-based downward departure where defendant had waived right to appeal unless

sentence exceeded the statutory maximum).

               For the reasons set forth above, Petitioner‘s motion to vacate, set aside, or

correct his sentence pursuant to 28 U.S.C. § 2255 is DENIED.

               IT IS SO ORDERED.


Dated: October 18, 2011
                                                 HONORABLE SARA LIOI
                                                 UNITED STATES DISTRICT JUDGE




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